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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

RYAN NOAH SHAPIRO,                    )
                                      )
          Plaintiff,                  )
                                      )
     v.                               ) Civil Action No. 13-595 RMC
                                      )
U.S. DEPARTMENT OF JUSTICE,           )
                                      )
          Defendant.                  )
                                      )

          REPLY TO PLAINTIFF’S MEMORANDUM OF POINTS AND
         AUTHORITIES IN OPPOSITION TO DEFENDANT’S MOTION
     TO DISMISS OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

                             INTRODUCTION

     Plaintiff has not raised sufficient question regarding the

material facts at issue successfully to challenge the grant of

summary judgment or dismissal for Defendant in this Freedom of

Information Act case.

                               ARGUMENT

     No dispute is lodged regarding the authenticity of

communications that were provided to the Court.          See Defendant’s

Statement Of Material Facts As To Which There Is No Genuine

Issue (“SMF”), ¶ 1 (citing Declaration Of David M. Hardy (“Hardy

Decl.”), ¶¶ 5-39 and Exhibits A through P); Plaintiff’s Response

to Defendant’s Statement Of Material Facts As To Which There Is

No Genuine Issue (“Pl’s SMF Resp.”), ¶ 1.        Nor does Plaintiff

challenge the accuracy of Mr. Hardy’s explanation of the efforts
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expended by the FBI to search for records responsive to

Plaintiff’s requests.   SMF, ¶ 3; Pl’s SMF Resp., ¶ 3.

     Indeed, none of the facts reflected in Defendant’s

Statement Of Material Facts As To Which There Is No Genuine

Issue is challenged on the basis that the facts are controverted

by contrary record evidence.     See Plaintiff’s Pl’s SMF Resp., ¶¶

2, 4-19.   Instead, Plaintiff only disputes what are described as

legal conclusions.   Id.     The underling factual assertions remain

uncontroverted, and may, therefore, be accepted as true.             See

Fed. R. Civ. P. 56(e); Local Civ. R. 7(h).        Thus, this Court

would not abuse its discretion in employing Local Civ. R. 7(h)

and this Court’s analysis in Jackson v. Finnegan, Henderson,

Farabow, Garrett & Dunner, 101 F.3d 145, 150-54 (D.C. Cir. 1996)

(allowing District Court to deem admitted facts set forth by a

party in support of summary judgment that are not properly

controverted by the opposing party); Gardels v. CIA, 637 F.2d

770, 773 (D.C. Cir. 1980); SEC v. Banner Fund Int'l, 211 F.3d

602, 616 (D.C. Cir. 2000) (If the party opposing the motion

fails to comply with this local rule, then the district court is

under no obligation to sift through the record and should

instead deem as admitted the moving party's statement). 1


     1
       A potential exception to this general rule is the
requirement that the Court conduct an analysis of the
segregability of documents in a FOIA case even if not challenged
by the plaintiff. See Trans-Pacific Policing Agreement v.
                                   - 2 -
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     Plaintiff argues that the Agency has not satisfied the

requirements of the various exemptions, suggesting that more

information is needed to assess properly the applicability of 5

U.S.C. § 552(b)(1), (3), (6), (7)(A), (7)(C), (7)(D) and (7)(E)

to the withholdings.    Although not conceding that any further

information was needed given the details provided in the First

Hardy Declaration, the Agency has provided further information,

where possible without disclosing the very information that is

protected from disclosure.     See Second Hardy Declaration, ¶¶ 4,

14-26. 2   For ease of reference, the Court may wish to take note




United States Customs Service, 177 F.3d 1022 (D.C. Cir. 1998).
Defendant submits that the facts set forth in the Declaration of
David Hardy (“Hardy Decl.”) and the Second Hardy Declaration
adequately explain how the FBI has satisfied that obligation.
Def’s SMF, ¶¶ 17-19; Hardy Decl., ¶¶ 1, 39, 43, 47, 49-51, 55,
60, 64-65, 69-71, 74, 76, 78-80, 84-85 and Exhibit P; Second
Hardy Decl., ¶¶ 13, 23, 30, 32.
2
  The Second Hardy Declaration does reflect a single instance
where a mistake was identified in the basis for one redaction
listed on a document produced at page Shapiro-13. The coding
correctly indicated application of Exemption (b)(7)(D), but the
assurance of confidentiality was implied rather than express.
See Second Hardy Decl., 23 fn.5.
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of the following specific paragraphs in the Second Hardy

Declaration, which address the following issues:

     ISSUE                                                  PARAGRAPH

     Adequacy of Search                                     5-12
     Segregability                                          13,23,30,32
     Exemption (b)(1)                                       15
     Exemption (b)(3)                                       16
     Exemption (b)(7) generally                             17-20
     Exemption (b)(7)(A)                                    21-23
     Exemption (b)(6)/(7)(C)                                24
     Exemption (b)(7)(D)                                    25-26
     Exemption (b)(7)(E)                                    27-30
     Which documents respond to which request               31

     Plaintiff does not challenge the redactions of the names

and/or identifying information of FBI Special Agents and support

personnel, the names of third parties who are merely mentioned,

or the names of non-FBI federal government personnel.            See Pl.

Opp. at 27.   Plaintiff does attempt to cast doubt on the

declaration of Mr. Hardy, because he has provided the same or

similar factual information in past cases.       In none of those

cases does Plaintiff proffer that the Court has made any finding

of untruthfulness.   Indeed, this Court in Truthout v. Department

of Justice, Civil Action No. 12-1660 RMC, relying on the

declarations provided there by Mr. Hardy, found that summary

judgment in favor of the defendant was appropriate.           See

Truthout v. Department of Justice, Civil Action No. 12-1660 RMC,

____ F.Supp.2d ___, 2013 WL 3742496 (D.D.C. July 17, 2013).                The

same result should follow in the instant action.


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     If the Court were to conclude that further assessment of

the details of the documents withheld is necessary, Defendant

proposes an in camera submission.     But, Defendant submits, the

nearly 60 pages of declarations with detailed information as to

the databases available, the searches conducted, the bases for

the withholdings and the efforts to disclose as much as possible

without releasing information that is subject to one or more

exemptions more than satisfies the FOIA.




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                               CONCLUSION

     WHEREFORE, for the reasons previously set forth in support

of Defendant’s Memorandum Of Points And Authorities In Support

Of Motion To Dismiss Or, In The Alternative, For Summary

Judgment, and set forth herein and in the declarations submitted

in support of summary judgment, the above civil action should be

dismissed as moot, and/or summary judgment entered in favor of

the defendant.

                             Respectfully submitted,

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                             United States Attorney
                             for the District of Columbia


                             DANIEL F. VAN HORN, DC Bar #924092
                             Chief, Civil Division


                       By:                                           /s/
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                         CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that service of the foregoing Reply To

Plaintiff’s Opposition To Defendant’s Motion To Dismiss Or, In

The Alternative, For Summary Judgment and declaration has been

made through the Court’s electronic transmission facilities on

the 30th day of July, 2013.



                                                            /s/
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